Case 1:22-cv-02588-CKK Document 1-13 Filed 04/05/22 Page 1 of 9




              EXHIBIT 10
Case 1:22-cv-02588-CKK Document 1-13 Filed 04/05/22 Page 2 of 9
Case 1:22-cv-02588-CKK Document 1-13 Filed 04/05/22 Page 3 of 9
Case 1:22-cv-02588-CKK Document 1-13 Filed 04/05/22 Page 4 of 9
                                                          REDACTED
Case 1:22-cv-02588-CKK Document 1-13 Filed 04/05/22 Page 5 of 9
                                                          REDACTED
Case 1:22-cv-02588-CKK Document 1-13 Filed 04/05/22 Page 6 of 9
Case 1:22-cv-02588-CKK Document 1-13 Filed 04/05/22 Page 7 of 9
Case 1:22-cv-02588-CKK Document 1-13 Filed 04/05/22 Page 8 of 9
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Case 1:22-cv-02588-CKK Document 1-13 Filed 04/05/22 Page 9 of 9
